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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


             In re                                                                    Chapter 11

             STANADYNE LLC, et al.,1                                                  Case No. 23-10207 (TMH)

                                Debtors.                                              (Jointly Administered)

                                                                                      Hearing Date: May 18, 2023 at 11:30 a.m. (ET)
                                                                                      Objection Deadline: May 11, 2023 at 4:00 p.m. (ET)



                                                        NOTICE OF MOTION

                 PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
         (collectively, the “Debtors”), have filed the Debtors’ Motion For Entry Of: (A) An Order (I)
         Scheduling A Hearing On The Approval Of The Sale Of All Or Substantially All Of The Debtors’
         Assets Free And Clear Of All Encumbrances Other Than Assumed Liabilities And Permitted
         Encumbrances, And The Assumption And Assignment Of Certain Executory Contracts And
         Unexpired Leases, (II) Approving Certain Bidding Procedures And Assumption And Assignment
         Procedures, And The Form And Manner Of Notice Thereof, (III) Authorizing The Debtors To Enter
         Into The Stalking Horse Purchase Agreement, And (IV) Granting Related Relief; And (B) An Order
         (I) Approving Asset Purchase Agreement, (II) Authorizing The Sale Of All Or Substantially All Of
         The Debtors’ Assets Free And Clear Of All Encumbrances Other Than Assumed Liabilities And
         Permitted Encumbrances, (III) Authorizing The Assumption And Assignment Of Certain Executory
         Contracts And Unexpired Leases, And (IV) Granting Related Relief (the “Motion”) with the United
         States Bankruptcy Court for the District of Delaware (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
         must be filed at or before May 11, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the
         United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of the objection or
         response to the Motion upon the undersigned counsel to the Debtors so as to be received on or
         before the Objection Deadline.

              PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE MOTION IS SCHEDULED FOR MAY 18, 2023 AT 11:30 A.M. (ET)
         BEFORE THE HONORABLE THOMAS B. HORAN, IN THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, FIFTH FLOOR,
         COURTROOM NO. 4, 824 N. MARKET STREET, WILMINGTON, DELAWARE 19801.



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                  The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
                 number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc.
                 (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White
                 Street, Jacksonville, North Carolina 28546.
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              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
         WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN
         CONNECTION WITH SUCH MOTION WITHOUT FURTHER NOTICE OR HEARING.

             Dated: April 27, 2023             YOUNG CONAWAY STARGATT &
                    Wilmington, Delaware       TAYLOR, LLP

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                                               Andrew L. Magaziner (DE Bar No. 5426)
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                                                 -and-

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                                               Counsel for the Debtors




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